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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA

CRIMINAL NO: 15-569 (SDW)
VS.

MARK ANDREOTTI

SUBSTITUTION OF COUNSEL
Kindly enter the appearance of Maro Neff, Esquire, as Attorney for Defendant, Mark

Andreotti, in the above-captioned matter.

Dated:

LAW OFFICES OF MARC NEFF LAW OFFICES OF JOHN P. MCGOVERN

    

Maré Neff, Esquire [! ohn P. McGovern, Esquire
Entering Attorney Withdrawing Attorney

BY:

  
